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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

       Charles Kao
                                                  *
                       Plaintiff,
                                                  *
                       vs.                                     Civil Action No. PX-19-3185
                                           *
       Sprint Communications Company L.P. et al.,
                                           *
                   Defendants.
                                       ******

                                     SCHEDULING ORDER

       This scheduling order is being entered pursuant to Local Rule 103.9. Any inquiries
concerning the schedule should be directed to my chambers, not to the Clerk's Office. Any party
who believes that any deadline set forth in this Scheduling Order is unreasonable may request in
writing a modification of the Order or that a conference be held for the purpose of seeking a
modification of the Order, and any such request must be made on or before the first date set forth
in Paragraph I below. Thereafter, the schedule will not be changed except for good cause.

         This case is subject to electronic filing. Please familiarize yourself with the procedures for
electronic filing available at: www.mdd.uscourts.gov. You must use the electronic filing system
for filing documents with the Clerk and sending case related correspondence to chambers. When
you electronically file a document that, including attachments, is 15 pages or longer, you also
must provide a paper copy of the document and a paper copy of the notice of electronic filing.
The paper copy should be sent to the Clerk’s Office, not directly to my chambers.


I.     DEADLINES

       March 18, 2020:                    Initial Joint Status Report, see Part II

       March 23, 2020:                    Rule 16 conference call at 10:30 a.m. Plaintiff
                                          should initiate call to Chambers at (301) 344-0653

       April 20, 2020:                    Moving for joinder of additional parties and
                                          amendment of pleadings

       May 4, 2020:                       Plaintiff’s Rule 26(a)(2) expert disclosures

       June 2, 2020:                      Defendant’s Rule 26(a)(2) expert disclosures
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       June 16, 2020:                     Plaintiff’s rebuttal     Rule    26(a)(2)    expert
                                          disclosures

       June 23, 2020:                     Rule 26(e)(2) supplementation of disclosures and
                                          responses

       July 17, 2020:                     Completion of Discovery; submission of Post-
                                          Discovery Joint Status Report, see Part V

       July 24, 2020:                     Requests for admission

       August 17, 2020:                   Dispositive pretrial motions deadline



II.    INITIAL JOINT STATUS REPORT

        By the deadline listed above, the parties must submit an Initial Joint Status Report including
the following:

       1. Requests for Modifications. The parties shall delineate any modifications they
          believe are necessary to the deadlines, default deposition hour limit, or other provisions
          of the Scheduling Order. Any requests to modify the Scheduling Order must be
          accompanied by proposed new deadlines, deposition hour limits, or other amendments;
          a comparison of the proposed deadlines, deposition hour limits, or other amendments
          to the original terms; and an explanation of why the modification is needed.

       2. Report on Consent to Proceed Before a United States Magistrate Judge. The
          parties shall report on whether they consent, pursuant to 28 U.S.C. § 636(c), to have all
          further proceedings before a Magistrate Judge. Magistrate Judges are generally able to
          oversee civil cases and conduct civil trials more efficiently that United States District
          Judges, because of the District Judges’ criminal caseload. If the parties consent to have
          their case heard by a Magistrate Judge, each party shall complete the Consent Form,
          available               at            http://www.mdd.uscourts.gov/publications/forms
          /MagistrateGeneralConsent.pdf, and docket those completed forms on CM/ECF as
          “Correspondence.”

       3. Report on Mediation with a United States Magistrate Judge. If the parties wish to
          participate in a mediation session with a Magistrate Judge, whether before, during, or
          after discovery, they shall provide a target date when they would like mediation to
          occur. This request will not postpone discovery unless otherwise ordered. Parties
          should be aware that mediation sessions are generally booked several months in
          advance. If the parties seek a date within the next two months, they shall explain why
          an expedited session is necessary. The parties will be contacted by the Magistrate Judge
          assigned to the case to schedule the mediation session. Note that if the parties choose


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              to proceed before a Magistrate Judge for all further proceedings, a different Magistrate
              Judge will be assigned to the mediation session.

          4. Report on the Scope of Discovery. The parties shall provide a joint summary of the
             anticipated nature and extent of discovery in this case, with a view towards minimizing
             wasteful and unnecessary discovery.


III.      RULE 16 CONFERENCE CALL

        The Court has scheduled a Rule 16 Conference call on March 23, 2020 at 10:30 a.m. The
Court will rule on requests for modification of the Scheduling Order at the Rule 16 Conference
call or by written order. Plaintiff is to initiate call to Chambers. (301) 344-0653.

IV.       DISCOVERY

       A. Initial Disclosures

          This is an action in which Rule 26(a)(1) disclosures need not be made.

       B. Discovery Conference

        This action is exempted from the requirements of the first sentence of Rule 26(d) and from
Rule 26(f), such that the parties may, as of the date of this order, commence with discovery.
However, parties are expected to: (a) identify the issues subject to discovery, (b) set a discovery
plan, (c) determine if the case can be resolved before incurring further litigation expense, and (d)
establish a cordial professional relationship.

       C. Discovery Procedures

          All the provisions of Local Rule 104 apply, including the following:

          1. All discovery requests must be served in time to assure that they are answered before
             the discovery deadline. An extension of the deadline will not be granted because of
             unanswered discovery requests that have not come due.

          2. The existence of a discovery dispute as to one matter does not justify delay in taking
             any other discovery. The filing of a motion to compel or a motion for a protective order
             will not result in a general extension of the discovery deadline.

          3. No discovery materials, including Rule 26(a)(2) disclosures, should be filed with the
             Court.

          4. Any motion to compel shall be filed only after counsel have conferred and filed a
             certificate as required by Local Rule 104.7 and shall be filed in accordance with Local
             Rule 104.8 and applicable CM/ECF procedures.

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       5. Parties should be familiar with the Discovery Guidelines of this Court, contained in
          Appendix A to the Local Rules. Appendix D contains guidelines for form discovery
          requests and confidentiality orders.

   D. Deposition Hours

        Absent a request to increase or decrease deposition hours, each side shall be limited to 25
hours of depositions of fact witnesses, including parties. If there are two or more parties on a
particular side, they must share the allotted deposition time unless the Court rules otherwise upon
a request from those parties. Any colloquy engaged in by counsel shall be counted against the
deposition time of that counsel’s client.

   E. Additional Requirements

       During the course of discovery, the parties shall adhere to the following requirements:

       1. Cooperation. As set forth in Local Rule Appendix A: Discovery Guidelines,
          Guideline 1, the parties and counsel have an obligation to cooperate in planning and
          conducting discovery to ensure that discovery is relevant to the claims or defenses in
          the case, not excessively burdensome, and proportional to what is at issue in the case.
          See Fed. R. Civ. P. 26(b)(2)(C) and 26(g)(1)(B)(ii)–(iii).

       2. Objections Stated with Particularity. Objections to interrogatories or requests for
          production must be stated with particularity. Boilerplate objections (e.g., objections
          without a particularized basis, such as “overbroad, irrelevant, burdensome, not
          reasonably calculated to identify admissible evidence”), as well as incomplete or
          evasive answers, will be treated as a failure to answer pursuant to Rule 37(a)(4).

       3. Electronically-Stored Information (ESI). If either or both parties intend to take
          discovery of ESI, counsel should review the Principles for the Discovery of
          Electronically Stored Information in Civil Cases. The Principles, prepared by a joint
          bench/bar committee, are available at
          http://www.mdd.uscourts.gov/publications/forms/ESI-Principles.pdf. The parties are
          expected to cooperate in determining the search technology, methodology, and
          criteria to be employed, and the custodians whose files are to be searched, to comply
          with discovery requests for ESI.

       4. Non-Waiver of Attorney-Client Privilege or Work-Product Protection. The parties
          are expected to discuss a non-waiver agreement pursuant to Federal Rule of Evidence
          502(e) and to promptly notify opposing counsel of any unintended disclosures. If the
          parties enter into such an agreement, the Court may, pursuant to Federal Rule of
          Evidence 502(d), order that unintended disclosures do not waive the privilege or
          protection in proceedings in this case and any other federal or state proceeding.



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V.     POST-DISCOVERY JOINT STATUS REPORT

       On the day of the deadline for Completion of Discovery, see Part II, the parties shall file a
Post-Discovery Joint Status Report covering the following matters:

       1. Whether discovery has been completed;

       2. Whether any motions are pending;

       3. Whether any party intends to file a dispositive pretrial motion;

       4. Whether the case is to be a jury trial or a non-jury trial and the anticipated length of
          trial;

       5. A certification that the parties have met to conduct serious settlement negotiations, to
          include the date, time, and place of all settlement meetings and the names of all persons
          participating;

       6. Whether each party believes it would be helpful to refer this case to another judge of
          this Court for a settlement or other alternative dispute resolution (ADR) conference,
          either before or after the resolution of any dispositive pretrial motion;

       7. Whether all parties consent, pursuant to 28 U.S.C. § 636(c), to have a United States
          Magistrate Judge conduct all further proceedings in this case, either before or after the
          resolution of any dispositive pretrial motion, including trial (jury or non-jury) and entry
          of final judgment; and

       8. Any other matter that the parties believe should be brought to the Court’s attention.

VI.    DISPOSITIVE PRETRIAL MOTIONS

       If more than one party intends to file a summary judgment motion, the provisions of Local
Rule 105.2(c) apply.

        After all dispositive motions and any responses have been filed, the Court will advise the
parties if a hearing is to be scheduled.

VII.   PRETRIAL CONFERENCES


         After receiving the Post-Discovery Joint Status Report, the Court will schedule an Initial
Pretrial Conference, unless the Post-Discovery Joint Status Report indicates that one or more party
intends to file a dispositive pretrial motion. In the latter event, the Court will not schedule the
Initial Pretrial Conference until after it has ruled upon the motion (or the dispositive pretrial motion
deadline passes without the anticipated motion being filed).


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       At the Initial Pretrial Conference, the Court will:

       1. Set a deadline for submitting the pretrial order pursuant to Local Rule 106, motions in
          limine, proposed voir dire questions, and proposed jury instructions;

       2. Set the Final Pretrial Conference date and a trial date; and

       3. Inquire whether a settlement or other ADR conference with a judicial officer would be
          useful. Counsel are expected to confer with their clients about this matter before the
          Initial Pretrial Conference so they can respond to this inquiry.


VIII. ATTORNEYS’ FEES

        In any case where attorneys’ fees may be sought by the prevailing party, counsel must be
familiar with Local Rule 109.2 and Local Rule Appendix B: Rules and Guidelines for Determining
Attorneys’ Fees in Certain Cases.

IX.    COMPLIANCE WITH PRIVACY PROTECTION RULE

        Counsel are reminded that the Federal Rules of Civil Procedure were amended, effective
December 1, 2007, with the addition of a new Rule 5.2, which has detailed requirements requiring
the redaction of filings with this Court that contain an individual's social security number, tax payer
identification number, or birth date; the name of an individual known to be a minor; or a financial
account number. It is essential that counsel comply with this rule and with the revised version of
the Judicial Conference Privacy Policy adopted in March 2008, available at
www.mdd.uscourts.gov/news/news/privacy_memo.pdf.




Date: March 4, 2020                                                      /S/
                                                               PAULA XINIS
                                                               United States District Judge




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